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 5
 6
 7
                                          UNITED STATES DISTRICT COURT
 8                                       NORTHERN DISTRICT OF CALIFORNIA
 9
      _____________________________________
10                                               )             Case Number __________
      Richard Sepulveda,                         )
11                                               )
                                                 )
12                     Plaintiff,                )
                                                 )             CIVIL RIGHTS
13    Vs.                                        )
                                                 )             COMPLAINT FOR INJUNCTIVE RELIEF
14                                               )             AND DAMAGES: DENIAL OF CIVIL
      Guadalupe Rivera, individually and dba R&R )             RIGHTS OF A DISABLED PERSON, IN
15    Café; Robert Adams, Jr.; Christella Adams; )             VIOLATION OF THE AMERICANS WITH
      and Does 1 to 50 inclusive,                )             DISABILITIES ACT OF 1990 AS
16                                               )             AMENDED, AND VIOLATION OF
                                                 )             CALIFORNIA’S CIVIL RIGHTS
17                        Defendants.            )             STATUTES
                                                 )
18                                               )             JURY TRIAL REQUESTED
19
20    Plaintiff herein complains of defendants herein, and alleges as follows:

21
                                                   JURISDICTION AND VENUE
22
23    1.   This court has jurisdiction over this matter and these defendants pursuant to 28 USC § 1331

24         for violations of the Americans with Disabilities Act of 1990 (42 USC §12101 et seq.).

25         Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same

26         facts, action is also bought under California law, including, but not limited to, violations of

27         California Government Code §4450; California Health and Safety Code §19953 et seq., and

28         applicable regulations, including but not limited to California Code of Regulations, Title 24,
          §19959; and California Civil Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3. Defendant
     ___________________________________________________________________________________________________________


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 1         Guadalupe Rivera owns and operates a business called “R&R Cafe” at 1260 Rumrill Blvd.,
 2         San Pablo, California in this judicial district. Defendants Robert Adams, Jr. and Christella
 3         Adams own the real property on which this business is operated in this judicial district.
 4    2. Venue is proper in this court pursuant to 28 USC §1391(b) and is founded on the fact that the
 5         real property that is the subject of this action is located in this district, and that plaintiff’s cause

 6         of action arose in this district.

 7
                                                    INTRODUCTION
 8
 9
      3. R&R Cafe (the “Business”) is located at 1260 Rumrill Blvd., San Pablo, California. Said
10
           business is owned and operated by defendant Guadalupe Rivera. The real property is owned by
11
           Robert Adams, Jr. and Christella Adams. The Business is a “public accommodation and
12         business establishment” subject to California Health and Safety Code §19953 et seq. and
13         California Civil Code §54 et seq. On information and belief, this Business has, since July 1,
14         1970, undergone construction and/or “alterations, structural repairs, or additions,” subjecting
15         such facility to disabled access requirements per Health and Safety Code §19953 to 19959 et

16         seq. Construction and alterations since July 1, 1982 also subjected these facilities to the
           requirements of California’s Title 24, the State Building Code. Further, irrespective of
17
           alternation history, such premises are subject to the “readily achievable” barrier removal
18
           requirements of Title III of the Americans with Disabilities Act of 1990.
19
      4. Defendant Guadalupe Rivera operates the Business, an establishment for services to the public
20
           at which business and location said defendants failed to provide barrier-free access to said
21
           establishment as required under federal and California state law. Further, defendants failed to
22         provide compliance with the law as follows:
23              a. Interior: The restroom was not accessible for users of walkers, in violation of ADAAG
24                   4.16 (1991 standards), ADAAG 603 (2010 standards), and CBC §11B-603, and related
25                   provisions. The following barriers existed: There were no grab bars next to or behind

26                   the toilet, in violation of ADAAG 4.16.4, 4.26 Fig. 29 (1991 standards), ADAAG
                     604.5 (2010 standards), and CBC 11B-604.5. The maneuvering space inside the
27
                     restroom was too small (less than 60 inches turning space), in violation of ADAAG
28
                     4.16.2 (1991 standards), ADAAG 304.3 (2010 standards), and CBC 11B-304.3.1. The
     ___________________________________________________________________________________________________________


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 1                   paper towel dispenser was too high, in violation of ADAAG 4.23.7 and 4.27.3 (1991
 2                   standards)(15 to 48 inches high), ADAAG 308.2.1 (2010 standards)(15 to 48 inches

 3                   high), and 11B-603.5 (40 inches high). The toilet paper dispense is in the wrong
                     position, in violation of ADAAG 4.16.6 (1991 standards), ADAAG § 604.7 (2010
 4
                     standards)(7 inches minimum and 9 inches maximum in front of toilet, and 15-48
 5
                     inches AFF), and CBC 11B-604.9.6 (7 to 9 inches in front of toilet and 14 to 19 inches
 6
                     AFF). The sink was the wrong dimensions, with insufficient space for legs or feet
 7
                     underneath, in violation of ADAAG 4.24.3 (clearance of 27 inches high, 30 inches
 8
                     wide, and 19 inches deep)(1991 standards), ADAS 306.3 (2010 standards), and CBC
 9                   11B-306.3 (knee clearance under sink [9 to 27 inches]). The sink itself was a piece of
10                   household furniture that partially blocked the passage to the toilet. There was a step up
11                   to get into the restroom of about 8 inches in vertical height, which was a violation of
12                   ADAAG 206.2.1 and 402, 402.2 (slope must be no more than 1:20, and no vertical rise

13                   more than ½ inch)(1991 standards), ADAS 303 (no more than 1/4 inch change in
                     level)(2010 standards), and 11B-403.4 (changes of level)(referencing 11B-303
14
                     “Changes in level” ¼ inch max). The step up made it hard for plaintiff to enter. The
15
                     lack of grab bars made it hard to get onto and off the toilet. The sink made of furniture
16
                     made it hard to use the sink due to its height and lack of leg space underneath. The
17
                     inability to access and use a properly configured restroom caused plaintiff frustration,
18
                     embarrassment and discomfort. It was difficult to get onto and off the toilet due to the
19                   lack of bars.
20              b. Interior: The dining seating inside was not accessible to disabled users of walkers,
21                   consisting of tables that do not possess the required characteristics, including space
22                   under tables for plaintiff’s legs, including knee and toe clearances, and lacking the

23                   international symbol designating a table for disabled persons, in violation of ADAAG
                     4.32 (1991 standards)(knee spaces at least 27 inches high, 30 inches wide, and 19
24
                     inches deep shall be provided (see Fig. 45)), ADAAG 306.3 (2010 rules)(27 inches
25
                     high, 30 inches wide, and 11 inches deep), and California Building Code (“CBC”)
26
                     §11B-226.1 and §11B-902. This made it more difficult for him to sit and eat his food.
27
                c. Interior: The sales and service counter for takeout was over 36 inches above the
28
                     finished floor and less than 36 inches long, in violation of ADAAG 904.4.1 (2010
     ___________________________________________________________________________________________________________


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 1                   standards), in that it was more than 36 inches high and less than 36 inches long. This
 2                   also violated CBC 11B-904.4.1 (more than 34 inches high and less than 36 inches

 3                   long). This caused difficulty for plaintiff in making his purchases.
      5. The above barriers interfered with Plaintiff’s access to the facilities at the Business, and
 4
           continue to deter plaintiff from visiting said facilities, and as a legal result, plaintiff has
 5
           suffered and suffers violations of his civil rights to full and equal enjoyment of goods,
 6
           services, facilities and privileges, and has suffered and will suffer embarrassment and
 7
           humiliation. Pursuant to Lopez v. Catalina Channel Express, Inc., 974 F.3d 1030 (9th Cir.
 8
           2020), plaintiff, in order to plausibly show that the cost of removing an architectural barrier
 9         does not exceed the benefits under the particular circumstances, and by way of a plausible
10         proposal for barrier removal, the costs of which, facially, do not clearly exceed its benefits,
11         pleads the following: to remedy the restroom, combine both rooms into one unisex restroom,
12         with appropriate entrance slope; these costs generally do not cost in excess of approximately

13         five thousand dollars ($10,000), the benefits of which will accrue to countless disabled persons
           over a period of years in the future. A proper dining table, with signage, can be purchased for
14
           $200. The service counter can be lowered and widened; cost of about $200. These cost
15
           estimates are based on estimates given in similar ADA cases in which plaintiff has been
16
           involved, by plaintiff’s expert, who is CASp-certified. In normal circumstances, tax
17
           deductions and tax credits are available to defendants to do this kind of work. Each case is
18
           different, and these numbers are only estimates for purposes of this initial pleading.
19
20                                                 FACTUAL ALLEGATIONS
21
22    6. Plaintiff is, and at all times relevant to this complaint is, a “physically handicapped person,” a

23         “physically disabled person,” and a “person with a disability” as those terms are used under
           applicable California law and under applicable federal law, including, but not limited to, Title
24
           III of the Americans with Disabilities Act of 1990. (The terms “physically handicapped
25
           person,” a “physically disabled person,” and a “person with a disability” will be used
26
           interchangeably throughout this complaint.) Plaintiff is limited in the use of his legs and uses a
27
           walker. Specifically, he is Vietnam veteran who has been designated as 100% disabled by the
28
     ___________________________________________________________________________________________________________


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 1         Veterans Administration. He suffers from lumbar disc disease and degenerative arthritis. He
 2         sometimes must sit in his walker as if it were a wheelchair. (There is a seat.)

 3    7. Defendants Guadalupe Rivera, Robert Adams, Jr., and Christella Adams, at all times relevant
           herein, were and are the owners, operators, lessors, and/or lessees, franchisors and/or
 4
           franchisees, of public facilities at the Business, known as R&R Cafe, located at 1307 Rumrill
 5
           Blvd., San Pablo, California, subject to California state law requiring full and equal access to
 6
           public facilities pursuant to California Health and Safety Code §19953 et seq., California Civil
 7
           Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3, and subject to Title III of the Americans with
 8
           Disabilities Act of 1990, and to all the other legal requirements referred to in this complaint.
 9         Plaintiff does not know the relative responsibilities of the defendants in the operation of the
10         Business facilities complained of herein, and alleges a joint venture and common enterprise by
11         all such defendants.
12    8. Defendants Guadalupe Rivera, Robert Adams, Jr., and Christella Adams at all times relevant

13         herein were and are the owners, operators, possessors, builders and keepers of the Business
           called R&R Cafe in the city of San Pablo, California. Plaintiff is informed and believes that
14
           each of the defendants herein is the agent, employee, or representative of each of the other
15
           defendants, and performed acts and omissions as stated herein within the scope of such agency
16
           or employment or representative capacity and is responsible in some manner for the acts and
17
           omissions of the other defendants in legally causing the damages complained of herein, and
18
           have approved or ratified each of the acts or omissions of each other defendant, as herein
19         described.
20    9. Plaintiff does not know the true names and capacities of defendants Does 1 to 50, their
21         business capacities, their ownership connection to the property and the business, nor their
22         relative responsibilities or relationships among one another in causing the access violations

23         herein complained of, and alleges a joint venture and common enterprise among all
           defendants. Plaintiff is informed and believes that each of the defendants herein is the agent,
24
           ostensible agent, master, servant, employer, employee, representative, franchiser, franchisee,
25
           joint venturer, partner, and associate, or such similar capacity, of each of the other defendants,
26
           and was at all times acting and performing, or failing to act or perform, with the authorization,
27
           consent, permission or ratification of each of the other defendants, and is responsible in some
28
           manner for the acts and omissions of the other defendants in legally causing the violations and
     ___________________________________________________________________________________________________________


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 1         damages complained of herein, and have approved or ratified each of the acts or omissions of
 2         each other defendant, as herein described. Plaintiff will seek leave to amend this Complaint

 3         when the true names, capacities, connections and responsibilities of defendants are
           ascertained.
 4
      10. Plaintiff is informed and believes that all named defendants, conspired to commit the acts
 5
           described herein, or alternatively aided and abetted one another in the performance of the
 6
           wrongful acts hereinafter complained of.
 7
      11. Defendants are the owners of the property and operators of the Business called R&R Cafe
 8
           located in the city of San Pablo, California. This business, including, but not limited to, access
 9         aisles and access routes, is or forms a part of a “public accommodation or facility” subject to
10         the requirements of California Health & Safety Code §19953, et seq., and of California Civil
11         Code §§51, 52(a), 54, 54.1, et seq. On information and belief, this business, or portions of it,
12         was constructed or altered after 1990, and after January 26, 1993, which fact has subjected the

13         business to handicapped access requirements per California Code of Regulations Title 24 (the
           State Building Code).
14
      12. On or about January 26, 2024 (the “Visit Dates”), Plaintiff visited the Business for the purpose
15
           of buying food and drink. Defendants interfered with Plaintiff’s access to the Business as set
16
           forth herein.
17
      13. Said acts and omissions denied Plaintiff legal handicapped access to the Business and its
18
           facilities as required under state and federal law.
19    14. Plaintiff’s home in Oakland, California is approximately thirteen miles from the Business
20         located in the city of San Pablo. Plaintiff travels regularly to and through said city in this area
21         on business and pleasure trips. Plaintiff plans to return to the Business when this public
22         accommodation is made accessible.

23    15. Plaintiff himself encountered the architectural barriers described herein, and/or is informed
           and believes that the architectural barriers described herein violate the California Code of
24
           Regulations and the Americans with Disabilities Act Guidelines for Buildings and Facilities
25
           (“ADAAG”) issued by the Department of Justice, and that they existed and continue to exist,
26
           and thereby deny Plaintiff and others similarly situated full and equal access to the Business
27
           facilities as set forth herein.
28
     ___________________________________________________________________________________________________________


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 1    16. Defendants, and each of them, by these barriers, discriminated against Plaintiff, on the basis of
 2         his physical disability, and interfered with his access to the Business and its facilities, in

 3         violation of California law, including but not limited to §§51, 51.5, 54, 54.1, and in violation
           of Title III, §302, the “Prohibition against Discrimination” provision, and §503, the
 4
           “Prohibition against Retaliation and Coercion” provision of the Americans with Disabilities
 5
           Act of 1990.
 6
      17. As a result of the actions and failure to act of defendants, and each of them, and as a result of
 7
           the failure to provide proper and accessible entryways, and accessible accommodations for a
 8
           store, Plaintiff suffered and will suffer the loss of his civil rights to full and equal access to
 9         public facilities, and further has suffered in the past and will suffer in the future emotional
10         distress, mental distress, mental suffering, mental anguish, which includes shame, humiliation,
11         embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated
12         with a person with a disability being denied access to a public accommodation, all to his

13         damages as prayed hereinafter in an amount within the jurisdiction of this court.

14
           I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
15
                     DISABILITIES ACT OF 1990 (42 USC 12101 et seq.)
16
17
      18. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
18
           allegations contained in paragraphs 1 to 17 above and incorporates them herein as if separately
19         pled.
20    19. Pursuant to law, in 1990 the United States congress made findings per 42 USC 12101
21         regarding persons with physical disabilities, finding that laws were needed to more fully
22         protect [at that time] 43 million Americans with one or more physical or mental disabilities;

23         [that] historically society has tended to isolate and segregate individuals with disabilities;
           [that] such forms of discrimination against individuals with disabilities continue to be a serious
24
           and pervasive social problem; [that] the nation's proper goals regarding individuals with
25
           disabilities are to assure equality of opportunity, full participation, independent living and
26
           economic self-sufficiency such individuals; [and that] the continuing existence of unfair and
27
           unnecessary discrimination and prejudice denies people with disabilities the opportunity to
28
     ___________________________________________________________________________________________________________


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 1         compete on an equal basis and to pursue those opportunities for which our free society is
 2         justifiably famous.

 3    20. Congress stated as its purpose in passing the Americans With Disabilities Act of 1990 (42
           USC 12102):
 4
                a. It is the purpose of this act (1) to provide a clear and comprehensive national mandate
 5
                     for the elimination of discrimination against individuals with disabilities; (2) to provide
 6
                     clear, strong, consistent, enforceable standards; (3) to ensure that the Federal
 7
                     Government plays a central role in enforcing the standards established in this Act on
 8
                     behalf of individuals with disabilities; (4) to invoke the sweep of Congressional
 9                   authority, including the power to enforce the 14th amendment and to regulate
10                   commerce, in order to address the major areas of discrimination faced day to day by
11                   people with disabilities.
12    21. As part of the Americans with Disabilities Act of 1990, Congress approved Title III – Public

13         Accommodations and Services Operated by Private Entities (42 USC 12181, et seq.) Among
           the public accommodations identified under this title were “… a bakery, grocery store,
14
           clothing store, hardware store, shopping center, or other sales or rental establishment.”
15
      22. Pursuant to 42 USC 12182,
16
                a. “No individual shall be discriminated against on the basis of disability in the full and
17
                     equal enjoyment of the goods, services, facilities, privileges, advantages or
18
                     accommodations by any person who owns, leases, (or leases to), or operates a place of
19                   public accommodation.”
20    23. Among the general prohibitions against discrimination were included in 42 USC
21         12182(b)(1)(A)(i):
22              a. Denial of Participation. It shall be discriminatory to subject an individual on the basis

23                   of a disability or disabilities of such individual or class, directly, or through

24                   contractual, licensing, or other arrangements, to a denial of the opportunity of the
                     individual or class to participate in or benefit from the goods, services, facilities,
25
                     privileges, advantages, or accommodations of an entity.
26
      24. Among the general prohibitions against discrimination were included in 42 USC
27
           12182(b)(1)(E):
28
     ___________________________________________________________________________________________________________


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 1              a. Association. It shall be discriminatory to exclude or otherwise deny equal goods,
 2                   services, facilities, privileges, advantages, accommodations, or other opportunities to

 3                   an individual or entity because of the known disability of an individual with whom the
                     individual or entity is known to have a relationship or association.
 4
      25. The acts of Defendants set forth herein were a violation of Plaintiff’s rights under the ADA,
 5
           and the regulations promulgated thereunder, 28 Code of Federal Regulations Part 36 et seq.
 6
      26. Among the general prohibits against discrimination were included in 42 USC
 7
           12182(b)(2)(A)(i) and (ii):
 8
                a. Discrimination. For purposes of subsection (a), discrimination includes:
 9                        i. the imposition or application of eligibility criteria that screen out or tend to
10                             screen out an individual with a disability or any class of individuals with
11                             disabilities from fully and equally enjoying any goods, services, facilities,
12                             privileges, advantages, or accommodations, unless such criteria can be shown
13                             to be necessary for the provision of the goods, services, facilities, privileges,
14                             advantages, or accommodations being offered;
15                        ii. a failure to make reasonable modifications in policies, practices, or procedures,
16                             when such modifications are necessary to afford such goods, services, facilities,
17                             privileges, advantages, or accommodations to individuals with disabilities,
18                             unless the entity can demonstrate that making such modifications would
19                             fundamentally alter the nature of such goods, services, facilities, privileges,
20                             advantages, or accommodations.
21    27. Plaintiff alleges that the facilities, policies, practices and procedure for entry to the Business
22         facility by persons with disabilities and their companions as established and set up by the
23         Defendants can be simply modified to eliminate disparate and discriminatory treatment of
24         persons with disabilities by properly constructing barrier-free handicapped access so as to
25         provide safe, full and equal enjoyment of the Business facilities as is enjoyed by other, non-
26         disabled, people.
27    28. The specific prohibition against retaliation and coercion is included in the Americans with
28         Disabilities Act of 1990 §503(b) and the Remedies and Procedures in §503(c):
     ___________________________________________________________________________________________________________


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 1              a. Section 503(b) Interference, Coercion, or Intimidation. - It shall be unlawful to coerce,
 2                   intimidate, threaten, or interfere with any individual in the exercise or enjoyment of, or
 3                   on account of his or her having exercised or enjoyed, or on account of his or her having
 4                   aided or encouraged any other individual in the exercise or enjoyment of, any right
 5                   granted or protected by this Act.
 6              b. Section 503(c) Remedies and Procedure. - The remedies and procedures available
 7                   under sections 107, 203, and 308 of this Act shall be available to aggrieved persons for
 8                   violations of subsections (a) and (b), with respect to Title I, Title II and Title Ill,
 9                   respectively.
10    29. Among the specific prohibitions against discrimination were included, in 42 USC
11         §12182(b)(2)(a)(iv), "A failure to remove architectural barriers, and communications barriers
12         that are structural in nature, in existing facilities ... where such removal is 3dily achievable and
13         (v) "where and entity can demonstrate that the removal of a barrier under clause (iv) is not
14         readily achievable, a failure to make such goods, services, facilities, privileges, advantages, or
15         accommodations available through such methods are readily achievable." The acts of
16         Defendants set forth herein violated Plaintiffs rights under the "ADA," 42 USC 12181 et seq.,
17         and the regulations promulgated thereunder, 28 CFA Part 36, et seq.
18    30. The removal of the barriers complained of by Plaintiff as hereinabove alleged were at all times
19         after 1990 "readily achievable.” On information and belief, if the removal of all the barriers
20         complained of here together were not removable, the removal of each individual barrier
21         complained of herein was "readily achievable."
22    31. Per 42 USC §12181(9), “The term ‘readily-achievable’ means easily accomplishable and able
23         to be carried out. The statute and attendant regulations define relative ‘expense’ in relation to
24         the total financial resources of the entities involved, including any ‘parent’ companies.
25         Plaintiff alleges that properly repairing each of the items that Plaintiff complains of herein is
26         readily achievable, including, but not limited to, correcting and repairing the items set forth in
27         the Paragraphs above. The changes needed to remove barriers to access for the disabled were
28         and are readily achievable by the defendants under standards set forth under 42 USC §I2181 of
     ___________________________________________________________________________________________________________


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 1         the Americans with Disabilities Act of 1990. (Further, if it were not "readily achievable" for
 2         defendants to remove all such barriers, defendants have failed to make the required services
 3         available through alternative methods, although such methods are achievable as required by 42
 4         USC §12181(b)(2)(a)(iv)(, v).)
 5    32. Pursuant to the Americans with Disabilities Act of 1990, §308 (42 USC §12188 et seq.),
 6         Plaintiff is entitled to the remedies and procedures set forth in the Civil Rights Act of 1964
 7         §204(a), (42 USC §2000a-3(a)), as Plaintiff is being subjected to discrimination on the basis of
 8         disability in violation of this title andlor Plaintiff has reasonable grounds for believing that he
 9         is about to be subjected to discrimination in violation of the Americans with Disabilities Act of
10         1990, §302. Plaintiff cannot return to or make use of the subject Business’ public facilities
11         complained of herein for the purpose of entry and provision of goods and service so long as
12         Defendants continue to apply eligibility criteria, policies, practices that screen out and refuse
13         to allow entry and service to persons with disabilities such as Plaintiff's.
14    33. Each of Defendants’ acts and omissions of failing to provide barrier-free handicapped access
15         for Plaintiff, were tantamount to interference, intimidation, and coercion pursuant to the
16         Americans with Disabilities Act of 1990 §503(b) (now 42 USC §12203): “It shall be unlawful
17         to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
18         or on account of his or her having aided or encouraged any other individual in the exercise or
19         enjoyment of, any right granted or protected by this Act.”
20    34. Pursuant to the Americans with Disabilities Act of 1990 §308(a)(1) (now 42 USC §12188),
21         “Nothing in this section shall require a person with a disability to engage in a futile gesture if
22         such person has actual notice that a person or organization covered by this title does not intend
23         to comply with its provisions." Pursuant to this last section, Plaintiff, on information and
24         belief, alleges that defendants have continued to violate the law and deny the rights of Plaintiff
25         and other disabled persons to access this public accommodation for the purpose of dining.
26         Therefore, Plaintiff seeks injunctive relief pursuant to §308(a)(2) “...Where appropriate,
27         injunctive relief shall also include requiring the provision of an auxiliary aid or service,
28
     ___________________________________________________________________________________________________________


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 1         modifications of a policy, or provision of alternative methods, to the extent required by this
 2         title.”
 3    35. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights Act of 1964
 4         (42 USC §2000a-3(a)), and pursuant to federal regulations adopted to implement the
 5         Americans with Disabilities Act of 1990, including, but not limited to, an order granting
 6         injunctive relief and attorneys’ fees. Such attorneys' fees, “including litigation expenses and
 7         costs,” are further specifically provided for by §505 of Title Ill.
 8         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
 9
10         II. SECOND CAUSE OF ACTION: BREACH OF STATUTORY PROTECTIONS FOR
11                   PERSONS WITH PHYSICAL DISABILITIES (California Health and Safety Code
12                   §19955 et seq.)
13
14    36. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
15         allegations contained in paragraphs 1 to 35 above and incorporates them herein as if separately
16         pled.
17    37. California Health & Safety Code §19955 provides in pertinent part: “The purpose of this part
18         is to insure that public accommodations or facilities constructed in this state with private funds
19         adhere to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Tile 1 of
20         the Government Code. For the purposes of this part "public accommodation or facilities"
21         means a building, structure, facility, complex, or improved area which is used by the general
22         public, and shall include auditoriums, hospitals, theaters, hotels, motels, stadiums, and
23         convention centers. When sanitary facilities are made available for the public, clients or
24         employees in such accommodations or facilities, they shall be made available for the
25         handicapped.
26    38. California Health & Safety Code §19956, which appears in the same chapter as §19955,
27         provides in pertinent part, "accommodations constructed in this state shall conform to the
28         provisions of Chapter 7 (commencing with Section 4450) of Division 5 of Title 1 of the
     ___________________________________________________________________________________________________________


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 1         Government Code.. .” California Health and Safety Code §19956 was operative July 1, 1970,
 2         and is applicable to all public accommodations constructed or altered after that date. On
 3         information and belief, portions of the subject Business building and facilities were
 4         constructed and/or altered after July 1, 1970, and substantial portions of said building and
 5         facilities had alterations, structural repairs, and/or additions made to such public
 6         accommodation after July 1, 1970, thereby requiring said public accommodations and/or
 7         buildings to be subject to the requirements of Part 5.5, California Health Safety Code §19955,
 8         et seq., upon such alteration, structural repairs or additions per California Health and Safety
 9         Code §19955.
10    39. Pursuant to authority delegated by the California Government Code, the State Architect
11         promulgated regulations for the enforcement of these Code provisions. Effective January 1,
12         1988, Title 24 of the California Administrative Code adopted the California State Architect’s
13         Regulations, and these regulations must be complied with as to any alterations and/or
14         modifications of the Business’ facilities after that date. Construction changes occurring prior
15         to this date but after July 1, 1970, triggered access requirements pursuant to the "ASA"
16         requirements, the American Standards Association Specifications, A117.1 -1961. On
17         information and belief, at the time of the construction modification and of the Business’
18         building and facilities, all buildings and facilities covered were required to conform to each of
19         the standards and specifications described in the American Standards Association
20         Specifications and/or those contained in Title 24 of the California Administrative Code (now
21         known as Title 24, California Code of Regulations.)
22    40. Public facilities such as the subject Business are public accommodations or facilities within
23         the meaning of California Health and Safety Code §19955.
24    41. It is difficult or impossible for persons with physical disabilities who use wheelchairs, canes,
25         walkers and service animals to travel about in public to use a store with the defects set forth
26         above as required by Title 24 of the California Code of Regulations and the Americans with
27         Disabilities Act Access Guidelines (ADAAG). Thus, when public accommodations fail to
28         provide handicap accessible public facilities, persons with disabilities are unable to enter and
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 1         use said facilities, and are denied full and equal access to and use of that facility that is
 2         enjoyed by other members of the general public.
 3    42. Plaintiff, and other similarly situated persons with physical disabilities whose physical
 4         conditions require the use of wheelchairs, canes, walkers and service animals, are unable to
 5         use public facilities on a “full and equal” basis unless each such facility is in compliance with
 6         the provisions of the California Health & Safety Code §19955, et seq. Plaintiff is a member of
 7         that portion of the public whose rights are protected by the provisions of California Health &
 8         Safety Code §19955, et seq.
 9    43. The California Health and Safety Code was enacted to “ensure that public accommodations
10         and facilities constructed in this state with private funds adhere to the provisions of Chapter 7
11         (commencing with §4450) of Division 5 of Title 1 of the Government Code.” Such “public
12         accommodations” are defined to include stores like this one.
13    44. Plaintiff is further informed and believes that as of the date of filing this complaint,
14         Defendants have not made accessible the facilities at the Business as set forth above.
15    45. Plaintiff, is informed and believes, and therefore alleges, that Defendants, and each of them,
16         caused the subject buildings and facilities constituting the Business to be constructed, altered
17         and maintained in such a manner that persons with physical disabilities were denied full and
18         equal access to, within and throughout said buildings and were denied full and equal use of
19         said public facilities, and despite knowledge and actual and constructive notice to such
20         Defendants that the configuration of the store, and/or buildings was in violation of the civil
21         rights of persons with physical disabilities, such as Plaintiff. Such construction, modification,
22         ownership, operation, maintenance and practices of such public facilities are in violation of
23         law as stated in Part 5.5, California Health & Safety Code §19955, et seq., and elsewhere in
24         the laws of California.
25    46. On information and belief, the subject building constituting the public facilities of the Business
26         have denied full and equal access to Plaintiff and other persons with physical disabilities in
27         other respects due to non-compliance with requirements of Title 24 of the California Code of
28         Regulations and the California Health & Safety Code §19955, el seq.
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 1    47. The basis of Plaintiff's aforementioned information and belief is the various means upon which
 2         Defendants must have acquired such knowledge, including, but not limited to, this lawsuit,
 3         other access lawsuits, communications with operators of other stores, and other owners
 4         regarding denial of access, communications with Plaintiff and other persons with disabilities,
 5         communications with other patrons who regularly visit there, communications with owners of
 6         other businesses, notices and advisories they obtained from governmental agencies through the
 7         mails, at seminars, posted bulletins, television, radio, public service announcements, or upon
 8         modification, improvement, alteration or substantial repair of the subject premises and other
 9         properties owned by these Defendants, newspaper articles and trade publications regarding the
10         Americans with Disabilities Act of 1990, and other access law, and other similar information.
11         The scope and means of the knowledge of each defendant is within each defendant’s exclusive
12         control and cannot be ascertained except through discovery.
13    48. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
14         legal expenses and hire attorneys in order to enforce his civil rights and enforce provisions of
15         the law protecting access for persons with physical disabilities and prohibiting discrimination
16         against persons with physical disabilities, and to take such action both in his own interests and
17         in order to enforce an important right affecting the public interest. Plaintiff, therefore, seeks
18         damages in this lawsuit for recovery of all reasonable attorneys' fees incurred, pursuant to the
19         provisions of the California Code of Civil Procedure §l021.5. Plaintiff additionally seeks
20         attorneys' fees pursuant to California Health & Safety Code §I9953 and California Civil Code
21         §§54.3.
22    49. Defendants, and each of them, at times prior to and including the Visit Dates, and continuing
23         to the present time, knew or should have known that persons with physical disabilities were
24         denied their rights of equal access to all portions of this public facility. Despite such
25         knowledge, or negligence with respect to such knowledge, Defendants failed and refused to
26         take steps to comply with the applicable handicapped access statutes; and despite knowledge
27         of the resulting problems and denial of civil rights thereby suffered by Plaintiff and other
28         similarly situated persons with disabilities, including the specific notices referred to in this
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 1         Complaint. Defendants have failed and continue to fail to take action to grant full and equal
 2         access to persons with physical disabilities in the respects complained of hereinabove.
 3         Defendants and each of them have carried out a course of conduct of refusing to respond to, or
 4         correct complaints about, denial of handicap access, or have been negligent in their obligations
 5         under the law.
 6    50. Defendants' actions have also been oppressive to persons with physical disabilities and to other
 7         members of the public, and have evidenced actual or implied malicious intent towards those
 8         members of the public, such as Plaintiff and other persons with physical disabilities who have
 9         been denied the proper access they are entitled to by law. Further, Defendants’ refusals on a
10         day-to-day basis to correct these problems evidences despicable conduct in conscious
11         disregard for the rights of Plaintiff and other members of the public with physical disabilities.
12    51. As a result of the actions and failure of Defendants, and each of them, and as a result of the
13         failure to provide proper accessible public facilities, Plaintiff was denied his civil rights,
14         including his right to full and equal access to public facilities, was embarrassed and
15         humiliated, suffered psychological and mental injuries and emotional distress, mental distress,
16         mental suffering, mental anguish, which includes shame, humiliation, embarrassment, anger,
17         chagrin, disappointment and worry, naturally associated with a person with a physical
18         disability being denied access to a public accommodation.
19         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
20
21         III.      THIRD CAUSE OF ACTION: VIOLATION OF CALIFORNIA’S CIVIL RIGHTS
22                   ACTS (California Civil Code §§54, 54.1 and 54.3)
23
24    52. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
25         allegations contained in paragraphs 1 to 51 above and incorporates them herein as if separately
26         pled.
27    53. The public facilities above-described constitute public facilities and public accommodations
28         within the meaning of California Health and Safety Code §19955 et seq. and are facilities to
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 1         which members of the public are invited. The aforementioned acts and omissions of
 2         defendants, and each of them, constitute a denial of equal access to and use and enjoyment of
 3         these facilities by persons with disabilities, including Plaintiff. Said acts and omissions are
 4         also in violation of the provisions of Title 24 of the California Code of Regulations.
 5    54. The rights of Plaintiff, the entitlement of Plaintiff to full and equal access, and the denial by
 6         defendants of such rights and entitlements are set forth in California Civil Code §§54, 54.1 and
 7         54.3, to wit:
 8              a. Individuals with disabilities shall have the same right as the ...general public to full and
 9                   free use of the streets, highways, sidewalks, walkways, public buildings, public
10                   facilities, and other public places. (California Civil Code §54(a).)
11              b. Individuals with disabilities shall be entitled to full and equal access, as other members
12                   of the general public, to accommodations, advantages, facilities, and privileges of all
13                   common carriers, airplanes, motor vehicles, railroad trains, motor buses, streetcars,
14                   boats, or any other public conveyances or modes of transportation (whether private,
15                   public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
16                   adoption agencies, private schools, hotels, lodging places, places of public
17                   accommodation, amusement or resort, and other places to which the general public is
18                   invited, subject only to the conditions and limitations established by law, or state or
19                   federal regulation, and applicable alike to all persons. (California Civil Code §54.1(a).)
20    55. On or about the Visit Dates, Plaintiff suffered violations of California Civil Code §§54 and
21         54.1 in that he was denied full and equal enjoyment of the goods, services, facilities and
22         privileges of the Business as set forth in herein above. Plaintiff was also denied full and equal
23         access to other particulars, including, but not limited to, those described herein above. Plaintiff
24         was also denied use of facilities that he was entitled to under Title Ill of the Americans with
25         Disabilities Act of 1990.
26    56. As a result of the denial of full and equal enjoyment of the goods, services, facilities and
27         privileges of Defendants’ Business due to the acts and omissions of Defendants, and each of
28         them, in owning, operating and maintaining this subject Business as a public facility, Plaintiff
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 1         has suffered a violation of his civil rights, including, but not limited to, rights under California
 2         Civil Code §§54, 54.1, and 54.3, and has suffered and will suffer an injury-in-fact in the form
 3         of emotional distress, mental distress, mental suffering, mental anguish, which includes shame,
 4         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
 5         naturally associated with a disabled person's denial of full and equal enjoyment of goods,
 6         services, and privileges, all to his damages as prayed hereinafter in an amount within the
 7         jurisdiction of this court. Defendants' actions and omissions to act constituted discrimination
 8         against Plaintiff on the sole basis that Plaintiff is disabled.
 9    57. Plaintiff seeks statutory damages for the violation of his rights as a disabled person that
10         occurred on or about the Visit Dates, according to proof, pursuant to California Civil Code
11         §54.3.
12    58. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
13         legal expenses and hire attorneys in order to enforce his rights and enforce provisions of the
14         law protecting the full and equal enjoyment of goods, services, facilities, privileges of public
15         facilities by the disabled, and those individuals associated with or accompanied by a person
16         with disabilities, and prohibiting discrimination against the disabled. Plaintiff, therefore, seeks
17         recovery in this lawsuit for all reasonable attorneys' fees incurred pursuant to the provisions of
18         California Civil Code §51, 52, and 54. (California Civil Code §55 is specifically not invoked.)
19         Additionally, Plaintiff's lawsuit is intended not only to obtain compensation for damages to
20         Plaintiff, but also to compel the Defendants to make their goods, services, facilities and
21         privileges available and accessible to all members of the public with physical disabilities,
22         justifying public interest attorneys' fees pursuant to the provisions of California Code of Civil
23         Procedure §1021.5.
24    59. The acts and omissions of Defendants in failing to provide the required accessible facilities
25         subsequent to the enactment date and compliance date of the Americans with Disabilities Act
26         of 1990 and refusal to make remedial alterations to their facilities and other elements as
27         hereinabove stated, after being notified by patrons before and after the time of Plaintiff’s visit
28         and injuries, on or about the Visit Dates, and all times prior thereto, with the knowledge that
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 1         persons with disabilities would enter Defendants’ premises, the reason given therefor, was an
 2         established policy, practice, and procedure of refusing and denying entry and/or use of
 3         facilities, thereby denying services to a person with disabilities and the companions thereor,
 4         evidence malice and oppression toward Plaintiff and other disabled persons.
 5    60. Plaintiff seeks injunctive relief pursuant to California Civil Code §54 and Health and Safety
 6         Code §19953 et seq. to require Defendants to comply with federal and state access regulations.
 7    61. Defendants have failed to establish a non-discriminatory criteria, policy, practice and
 8         procedure for entry into said Business as hereinabove described.
 9    62. As a result of defendants’ continuing failure to provide for the full and equal enjoyment of
10         goods, services, facilities and privileges of said Business as hereinabove described, Plaintiff
11         has continually been denied his full and equal enjoyment of the subject store facilities at the
12         Business, as it would be a “futile gesture to attempt to patronize” said Business with the
13         discriminatory policy in place as hereinabove described.
14    63. The acts and omissions of Defendants as complained of herein in failing to provide the
15         required accessible facilities subsequent to the enactment date and compliance date of the
16         Americans with Disabilities Act of 1990 and refusal to make remedial modifications and
17         alterations to the architectural barriers as stated herein and in failing to establish practices,
18         policies and procedures to allow safe access by persons who are disabled are continuing on a
19         day-to-day basis to have the effect of wrongfully and willfully excluding Plaintiff and other
20         members of the public who are disabled from full and equal enjoyment of the subject Business
21         as hereinabove described. Such acts and omissions are the continuing cause of humiliation and
22         mental and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as an
23         inferior and second class citizen and serve to discriminate against him on the sole basis that he
24         is disabled. Plaintiff is unable so long as such acts and omissions of defendants continue, to
25         achieve full and equal enjoyment of the goods and services of said Business as described
26         hereinabove. The acts of Defendants have legally caused and will continue to cause irreparable
27         injury to Plaintiff if not enjoined by this court.
28
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 1    64. Wherefore, Plaintiff asks this court to preliminarily and permanently any continuing refusal by
 2         Defendants to permit entry to said Business and to serve Plaintiff or others similarly situated,
 3         and to require Defendants to comply forthwith with the applicable statutory requirements
 4         relating to the full and equal enjoyment of goods and services as described hereinabove for
 5         disabled persons. Plaintiff further requests that the court award statutory costs and attorneys'
 6         fees to Plaintiff pursuant to California Code of Civil Procedure §I021.5, all as hereinafter
 7         prayed for.
 8
 9   WHEREFORE, Plaintiff prays for statutory damages, reasonable attorneys' fees and costs of suit, as
10   allowed by statute and according to proof.
11
12         IV.       FOURTH CAUSE OF ACTION: VIOLATION OF CALIFORNIA UNRUH CIVIL
13                   RIGHTS ACT (California Civil Code §51 and §51.5.)
14
15    65. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
16         allegations contained in paragraphs 1 to 64 above and incorporates them herein as if separately
17         pled.
18    66. Defendant’ acts and omissions as specified with regard to the discriminatory treatment of
19         Plaintiff, on the basis of his disabilities, have been in violation of California Civil Code §§51
20         and 51.5, the Unruh Civil Rights Act, and have denied to Plaintiff his rights to “full and equal
21         accommodations, advantages, facilities, privileges or services in all business establishments of
22         every kind whatsoever.”
23    67. California Civil Code §51 also provides that “[a] violation of the right of any individual under
24         the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a
25         violation of this section.”
26    68. California Civil Code §51.5 also provides that “[no business establishment of any kind
27         whatsoever shall discriminate against, boycott, or blacklist, refuse to buy from, sell to, or trade
28         with any person in this state because of the race, creed, religion, color, national origin, sex,
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 1         disability of the person or of the person's partners, members, stockholders, directors, officers,
 2         managers, superintendents, agents, employees, business associates, suppliers, or customers.”
 3    69. As a result of the violation of Plaintiffs civil rights protected by California Civil Code §§51
 4         and 51.5, Plaintiff is entitled to the rights and remedies of California Civil Code §52,
 5         consisting of statutory damages, as well as reasonable attorneys' fees and costs, as allowed by
 6         statute, according to proof. California Civil Code §55 is specifically not invoked by plaintiff.
 7    70. Pursuant to California Code of Civil Procedure §425.50: (a) this complaint is filed on behalf of
 8         a high-frequency litigant, as defined; (b) 40; (c) shopping and dining in the San Pablo area; (d)
 9         to buy food and drink items from this business.
10    71. WHEREFORE, Plaintiff prays that this court award statutory damages and provide relief as
11         follows:
12
13                                                 PRAYER FOR RELIEF
14   Plaintiff prays that this court award statutory damages and provide relief as follows:
15
16       1. Grant injunctive relief requiring that Defendants establish a nondiscriminatory
17   criteria, policy, practice and procedure permitting entry into the subject Business in
18   the City of San Pablo, California, for the purpose of obtaining the goods and services accorded
19   therein according to California Civil Code §§51, 51.5, 52, 54, 54.1, and 54.3, California Health and
20   Safety Code §19953 et seq., and Title Ill of the Americans with Disabilities Act of 1990, and grant
21   injunctive relief requiring that Defendants repair and render safe to disabled persons, and otherwise
22   make accessible, all public areas of the Business’ store, including, but not limited to, each of the
23   barriers to access identified above, and make such facilities “readily accessible to and usable” by
24   individuals with disabilities according to the standards of Title 24 of the California Administrative
25   Code, California Health & Safety Code §19955 et seq., and Title Ill of the Americans with
26   Disabilities Act of 1990 and the standards of ADAAG; and prohibiting operation of the Business
27   located in the City of San Pablo, California, as a public facility until Defendants provide full and
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 1   equal enjoyment of goods and services as described hereinabove to disabled persons, including
 2   Plaintiff.
 3       2. Statutory damages, according to proof, pursuant to California Civil Code §52, and statutory
 4            damages, according to proof, pursuant to California Civil Code §54.3. Plaintiff
 5            acknowledges that statutory damages cannot be claimed under both the Unruh Act and the
 6            California Disabled Persons Act; he will make an election before or at trial in this respect.
 7       3. Prejudgment interest on all damages to the extent permitted by law;
 8       4. Remedies and Procedures available under Americans with Disabilities Act of 1990,
 9            including but not limited to §§I 07,203 and 308.
10       5. Award Plaintiff all litigation expenses, all costs of this proceeding and a reasonable
11            attorneys’ fees as provided by law, including, but not limited to, those recoverable pursuant
12            to the provisions of California Civil Code §§52 and 54.3, California Code of Civil
13            Procedure §1021.5, and Americans with Disabilities Act of 1990 5308 of Title Ill; and
14       6. Grant such other and further relief as the court may deem just and proper.
15
16   /s/ Richard A. Mac Bride
17   Richard A. Mac Bride, Attorney for Plaintiff
18   Date: February 23, 2024
19
20                                                 REQUEST FOR JURY TRIAL
21
22   Plaintiff hereby requests a jury for all claims for which a jury is permitted.
23   /s/ Richard A. Mac Bride
24   Richard A. Mac Bride, Attorney for Plaintiff
25   Date: February 23, 2024
26
27
28                                                     VERIFICATION
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 1   I, Richard Sepulveda, plaintiff herein, hereby swear under penalty of perjury under the laws of the
 2   State of California as follows: I am familiar with the contents of this complaint and verify that the
 3   facts alleged are true and correct according to my personal knowledge, except as to those matters
 4   that are pled on information and belief, and as to those matters, I have reason to believe that they
 5   are true.
 6
 7   /s/ Richard Sepulveda
 8   Richard Sepulveda
 9   Date: February 23, 2024
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